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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND
NORTHERN DIVISION

 

TAJU OLAROTIMI DURODOYE
1323 Howard Road
Glen Burnie, Maryland 21060

Plaintiff

v. Civil No.:

4721 Morrison Drive

Mobile, Alabama 36609

SERVE ON RESIDENT AGENT
The Corporation Trust Incorporated
2405 York Road, Suite 201
Lutherville Timonium, MD 21093

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RUBY TUESDAY INC. )
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Defendant )
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ORIGINAL COMPLAINT

COMES NOW Plaintiff, Taju O. Durodoye, (hereafter “Plaintiff’) by his
attorney, Fatai A. Suleman, Esq. and the Law Offices of Amity & Suleman, P.A. and
for cause brings this action against Ruby Tuesday Inc., (hereafter “Defendant”) and
states as follows:

PARTIES

1. Plaintiff is a resident of Glen Burnie, Maryland, within the jurisdiction of
this Honorable Court.
2. Plaintiff is a fifty-two (52) years old black male originally from Nigeria,
Africa and thus within the protected class of employment discrimination on the

basis of age, race, color, and/or national origin.
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3. Defendant, upon information and belief, is a State of Georgia incorporated
corporation having its principal office in Mobile, Alabama and doing business in
various states in the United States including the State of Maryland.
A, Defendant is a person within the meaning of 42 U.S.C. § 2000e(a) and an
employer within the meaning of 42 U.S.C. § 2000e(b).

JURISDICTION AND VENUE
5. This action is brought by Plaintiff to secure the protection of and to
redress deprivation of rights secured by the Age Discrimination in Employment Act,
(ADEA), and Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §
2000e, et seq., providing for relief against discrimination in employment on the
basis of age, race, and national origin respectively.
6. Declaratory relief, damages and other appropriate legal and equitable
remedies are sought pursuant to 42 U.S.C. § 2000e(f) and (g) and 42 U.S.C, 19814.
7. This Court has jurisdiction over this action under 42 U.S.C. § 2000e-5(f) and
this Court also has pendent and/or ancillary jurisdiction over any and all common
law or state law causes of action that may be presented herein. The Court also has
supplemental jurisdiction with respect to any state claims asserted herein under 28
U.S.C. 1867(a).
8. The unlawful employment practices alleged in this action were committed
within the United States District Court for the District of Maryland and venue is

proper in this District pursuant to § 706()(8) of Title VII, 42 U.S.C. § 2000e-5(8).
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9. On April 18, 2017, Plaintiff timely filed employment discrimination charges
with the Equal Employment Opportunity Commission (EEOC) against the
Defendant regarding the discrimination alleged in this Complaint.
10. Onor about February 28, 2019, Plaintiff was issued a Notice of Right to Sue
“Notice of Right to Sue” issued to Plaintiff by the EEOC attached herein as
Plaintiffs Exhibit 1.
11. This action has been commenced by Plaintiff within ninety days of receiving
the Notice of Right to Sue from the EEOC.
12. Plaintiff assert that all conditions precedent to the filing of this suit have
been performed or have occurred.

FACTUAL ALLEGATIONS
13.- On or about April 1, 1986, Plaintiff began his employment career with
Defendant at the time when Defendant was operating under the same umbrella
with Morrisons Family Dining/Morrisons Healthcare and Ruby Tuesday.
14, From the said April 1, 1986, Plaintiff worked at the Morrisons Family Dining
as an Operations Manager before transferring to Ruby Tuesday in the year 2000.
15. From on or about March 28, 2000, Plaintiff worked for Defendant as an
Assistant Manager at one of Defendant's restaurants located in Marley Station
Mall, Glen Burnie, Maryland.
16. In 2004, Plaintiff was one of the managers transferred to Linthicum to open

the newly opened Defendant’s restaurant in Linthicum.
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17. On April 2, 2017, Plaintiff was placed on suspension with pay pending an
alleged investigation by the Defendant.

18. On or about April 12, 2017, Plaintiff learnt for the first time that Plaintiffs
employment with the Defendant has been terminated by Defendant on April 3,
2017.

19. Defendant did not provide Plaintiff with any reason whatsoever for

terminating Plaintiffs employment of more than seventeen (17) years with

Defendant.
UNLAWFUL EMPLOYMENT TERMINATION
(Age, Race, Color, and/or National Origin)
20. Plaintiff hereby re alleges and incorporates by reference as if fully set

forth herein, the relevant allegations of [{ 1 through 19 above as if fully set forth
herein and in addition alleges:

21. Plaintiff asserts that at all material times, Plaintiff was adequately
performing his duties and was meeting the legitimate expectation of Defendant.

22. During the course of his employment with Defendant, Plaintiff was a
hard-working and conscientious employee with no issues regarding the performance
of his duties.

23. During the course of his employment with Defendant, Plaintiff did not
have any history of previous discipline by Defendant for any Plaintiffs misconduct

prior to the termination of Plaintiffs employment by Defendant.
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24, Plaintiff asserts that other employees outside of Plaintiffs protected class
of discrimination, (Caucasian employees, employees not of African descent, and
employees who are younger than Plaintiff), who have violated Defendant’s company
policy were not severely disciplined as Plaintiff by the Defendant.

25. Plaintiff asserts that Defendant has discriminated against him because of
his age in violation of the ADEA, and/or because of his race, color and/or National
Origin, in violation of Section 703(a) of Title VII of the Civil Rights Act of 1964, as
amended, 42 U.S.C. Section 2000e-2(a) among other ways by discharging him from
his employment and discriminating against him in the terms and conditions of his
employment.

26. As a proximate result of Defendant’s discrimination, Plaintiff has
suffered and continues to suffer substantial losses incurred in loss of past and
future earnings, bonuses, deferred compensation, and other employment benefits,
plus expenses and attorneys’ fees.

27. Plaintiff further asserts that as a proximate result of Defendant’s action,
Plaintiff has suffered and continues to suffer impairment and damage to his good
name and reputation by Defendant causing Plaintiff to be discharged with untrue
implication to all future prospective employers that Plaintiff had been discharged
for incompetence or unsatisfactory performance.

28. Asa further proximate result of Defendant’s actions, Plaintiff has

suffered and continues to suffer severe and lasting embarrassment, humiliation,
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distress, pain and anguish, and other incidental and consequential damage and

expense.

29. Plaintiff asserts that Defendant’s conduct was outrageous, callous,

oppressive and done in conscious disregard of Plaintiffs rights, thus entitling

Plaintiff to an award of punitive damages in this action.

WHEREFORE Plaintiff prays that this Court:

A. Reinstate Plaintiff to his former position or one comparable thereto.

B. Order Defendant to make whole Plaintiff by providing back pay,
reimbursement for lost pension, social security and other benefits.

C. Award Plaintiff the sum of One Million Dollars ($1,000,000.00) as
compensatory damages and the sum of Five Million Dollars ($5,000,000.00)
as punitive damages against Defendant.

D. Award Plaintiff reasonable attorneys’ fees, prejudgment and post judgement
interest and costs of this action.

E. Grant such additional relief as the Court may deem just and proper.

PRAYER FOR TRIAL BY JURY
Plaintiff respectfully prays for trial by jury in this action.
PLAINTIFF’S VERIFICATION
I, Taju O. Durodoye, being duly sworn and subject to the penalty for perjury,
hereby certify that I am the Plaintiff in the foregoing action. I have read the

foregoing complaint and the facts stated herein and believe same to be true, except
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those stated to be upon information and belief. For those facts too, I believe them to

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Taju Glarotimi Durodoye

Respect;

itted,

 

 

Fatai A. Silérhan, EsQuire ( 14431)

AMITY & SUL

» PA.

7501 Greenway Center Drive, Suite 450
Greenbelt, MD 20770

Telephone: (801) 982-3434

Fax: (801) 982-3411

E-mail: faslaw@ask-lawyers.net

Attorney for Plaintiff
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PLAINTIFF'S EXHIBIT 1
EEOC Form 161 (11/18) Case 1:19-QyS) Rey BE PL HEHORP SR Toker CrieibSioRage 9 of 9

DISMISSAL AND NOTICE OF RIGHTS

 

 

To: Taju O. Durodoye From: Baltimore Field Office

1323 Howard Road G.H. Fallon Federal Building
Glen Burnie, MD 21060 31 Hopkins Plaza, Suite 1432

Baltimore, MD 21201

 

[ On behaif of person(s} aggrieved whose identity is
CONFIDENTIAL (29 CFR §1601.7(a))
EEOC Charge No. EEOC Representative Telephone No.

George Collins,
846-2017-20565 Investigator (410) 209-2234

THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:

The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.
Your allegations did not involve a disability as defined by the Americans With Disabilities Act.
The Respondent employs less than the required number of employees or Is not otherwise covered by the statutes.

Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s} of the alleged
discrimination to file your charge

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The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.

The EEOC has adopted the findings of the state or loca! fair employment practices agency that Investigated this charge.

LL

Other (briefly state)

- NOTICE OF SUIT RIGHTS -

(See the additional information attached to this form.)

Title VIl, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)
before you file suit may not be collectible.

f of the Commission
On SSS FEB 28 2019

 

Enclosures(s) Rosemarie Rhodes, — (Date Mailed)
Director,
ce Raha Assadi ; ‘ Fatai A. Suleman, Esq.
STEWART BRADBURY, PLLC AMITY & SULEMAN, P.A.
1722 Routh Street, Suite 745 Maryland Trade Center III
Dallas, TX 75205 7501 Greenway Center Drive, Suite 450

Greenbelt, MD 20770
